        Case 25-10019-pmm
 Fill in this information to identify the case:
                                                Doc       Filed 04/22/25 Entered 04/22/25 14:55:14                     Desc Main
                                                          Document      Page 1 of 3
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               Susan A Marro
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        25-10019
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A
 Name of creditor: _______________________________________                                                             9
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to                   3 ____
                                                               2 ____
                                                                 0 ____
                                                                      4
 identify the debtor’s account:                           ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 ✔
   No
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       04/01/25
                                                                         _________________________________            (3)     650.00
                                                                                                                            $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
                    Foreclosure Attorney Fee
 11. Other. Specify:____________________________________                 03/07/25
                                                                         _________________________________           (11)     122.50
                                                                                                                            $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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Debtor 1
                 Susan A Marro
             _______________________________________________________
                                                                                                               25-10019
                                                                                           Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
  ✔
    I am the creditor.
   I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            __________________________________________________
                 Signature
                                                                                           Date
                                                                                                   04    18 2025
                                                                                                   ____/_____/________




                 Melissa A. Epler                                                                  Bankruptcy Administrator
 Print:          _________________________________________________________                 Title   ___________________________
                 First Name                      Middle Name        Last Name



 Company          Santander Bank, N.A.
                 _________________________________________________________



 Address          1130 Berkshire Boulevard, MC: PA-WYO-BKR2
                 _________________________________________________________
                 Number                 Street
                 Wyomissing, PA 19610
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone            512 _________
                  484 _____–
                 (______)     3552                                                                 DeftBkr@santander.us
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                                    UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA


In Re:
Susan A Marro                                                   Chapter 13
                                                                Case No. 25-10019
                                                                Honorable Patricia M Mayer
Debtor
____________________________________________/

                                           CERTIFICATE OF SERVICE

       I, Melissa A. Epler of Santander Bank, N.A., do hereby certify that on April 18, 2025, I caused to be served
a copy of the Notice of Post-petition Mortgage Fees, Expenses, and Charges on the service list below by having a
copy of the same mailed by first class mail, postage pre-paid or other method specified on service list.

         Signed under the penalties of perjury, this 18th day of April 2025.



                                                                _____________________________________________
                                                                Melissa A. Epler
                                                                Santander Bank, N.A.
                                                                Bankruptcy Administrator
                                                                1130 Berkshire Boulevard
                                                                Wyomissing, PA 19610
                                                                (484) 512-3552
                                                                Email: DeftBkr@santander.us
VIA US MAIL
Susan Marro
2416 S 10th St
Philadelphia, PA 19148

VIA ECF
Kenneth E West
190 N Independence Mall W Ste 701
Philadelphia, PA 19106

Michael A Cibik
help@cibiklaw.com
